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                                                     Boca Raton            Melville                  San Diego
                                                     Chicago               Nashville                 San Francisco
                                                     Manhattan             Philadelphia              Washington, D.C.



 Alexandra S. Bernay
 xanb@rgrdlaw.com
                                                        April 22, 2022

                                                                                                                           VIA ECF


 The Honorable Magistrate Judge Edward S. Kiel

                                                                                ORDER
 United States District Court
    for the District of New Jersey
 Frank R. Lautenberg U.S. Post Office
    & Courthouse Building
 2 Federal Square, Courtroom 8
 Newark, NJ 07102

            Re:        Lincoln Adventures, LLC v. Those Certain Underwriters at Lloyd’s London,
                       No. 2:08-cv-00235-CCC-ESK

 Dear Judge Kiel:

        Through the meet and confer process, the parties have agreed, subject to Your Honor’s
 approval, on the following proposed merits discovery schedule:


               July 29, 2022               Deadline for the parties to agree on the selection of
                                           witnesses to be deposed.

               August 12, 2022             Deadline for joint submission of any disputes concerning
                                           the selection of witnesses for depositions.

               August 22, 2022             Deadline for joint submission of any replies concerning the
                                           selection of witnesses for depositions.

               TBD by Court                Hearing on any disputes regarding the selection of
                                           witnesses for depositions.

               January 20, 2023            End of fact discovery.

        The Parties will be prepared to discuss the proposed fact discovery schedule at the
 upcoming Status Conference on April 27, 2022. The Parties reserve all of their arguments as to any
 deposition that may be noticed or any witness who may be selected.

                                                           Very truly yours,
So Ordered.

      /s/ Edward S. Kiel                        .




Edward S. Kiel, U.S.M.J.                                   ALEXANDRA S. BERNAY
 cc: April
Date:   Counsel
             25,of2022
                   Record (via ECF)
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